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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
                                           
MONIQUE GRIMES, as Personal
Representative of the Estate of
DAMON GRIMES, Deceased,

                   Plaintiff,
                                                      Case No.: 17-12860
v.                                                    Honorable Gershwin A. Drain


TROOPER MARK BESSNER, et
al.,

             Defendants.
___________________________/

     ORDER GRANTING IN PART PLAINTIFF’S MOTION REGARDING
      PRESERVATION OF EVIDENCE [#7] AND SETTING DEADLINES

       On October 6, 2017, the Court conducted oral argument on Plaintiff’s

Emergency Motion to Preserve All Evidence and to Produce All Evidence for a

Reasonable Rate and Within a Reasonable Time Period Directed to the City of

Detroit, Detroit Police Department, State of Michigan, Michigan State Police, All

Employees of the Same and Former Trooper Mark Bessner. The Michigan State

Police filed a Response to the instant motion on October 5, 2017. Counsel for non-

parties, the City of Detroit and the Michigan State Police, appeared at the hearing.

At the hearing, Plaintiff indicated that she has withdrawn her motion relative to the

Michigan FOIA requests directed to the Michigan State Police and the City of
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Detroit and its police department.

      For the reasons stated on the record, the Court will grant Plaintiff’s request

for a preservation order.         Accordingly, Plaintiff shall submit a proposed

preservation order no later than close of business on October 6, 2017.

      The City of Detroit and the Michigan State Police shall file their Response

no later than October 13, 2017.

      Counsel shall attempt to work out any disputes concerning the proposed

preservation orders.

      The parties shall submit the agreed upon preservation order no later than

October 20, 2017. If no agreement can be reached, the parties shall each submit a

proposed preservation order no later than October 20, 2017. In the event the

parties cannot reach an agreement, the Court will conduct a hearing on this matter

on October 24, 2017 at 3:00 p.m.

      SO ORDERED.

Dated: October 6, 2017                             /s/Gershwin A. Drain
                                                   GERSHWIN A. DRAIN
                                                   United States District Judge

                          CERTIFICATE OF SERVICE

           Copies of this Order were served upon attorneys of record on
               October 6, 2017, by electronic and/or ordinary mail.
                   /s/ Marcia Beauchemin for Tanya Bankston
                                  Case Manager  

                                            

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